Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 1 of 21




                                      Exhibit A
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 2 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 3 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 4 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 5 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 6 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 7 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 8 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 9 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 10 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 11 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 12 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 13 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 14 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 15 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 16 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 17 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 18 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 19 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 20 of 21
Case 0:18-cv-61717-WPD Document 1-1 Entered on FLSD Docket 07/25/2018 Page 21 of 21
